Case 2:19-cV-00171-SRC-CLW Document 1 Filed 01/07/19 Page 1 of 3 Page|D: 1

643-0150/4845-6906-2789
LESTER SCHWAB KATZ & DWYER, LLP

500 Frank W. Burr Blvd., 5th Floor, Suite 31

Teaneck, NJ 07666

973 912-9501

Attorneys for Defendants

JOHN K. WOLF and BARR NUNN TRANSPORTATION

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
---- X
GLENN JONES,

 

Plaintiff(s),

vs. NOTICE OF REMOVAL
JOHN K. WOLF, BARR NUNN
TRANSPORTATION JOHN DOES AND JOHN
DOES l - 20 (representing presently unidentified
individuals, businesses, and/or corporations Who
owned, operated, maintained supervised, designed,
constructed, repaired and/or controlled the vehicle
in question or otherwise employed the defendant),

Defendant(s).
________________________________________________________________ X

Defendants John K. Wolf and Barr Nunn Transportation allege as follows for their notice
of removal:
Commencement Of The Action
l. On December lO, 2018, plaintiff Glenn Jones filed a complaint in a civil action in
New Jersey Superior Court, Morris County, under docket no. MRS-L-2424-18, seeking money
damages, resulting from a motor vehicle accident that allegedly occurred on April 4, 2018, in
Roxbury, New Jersey. Exhibit A.

2. No other pleadings, process or orders have been filed in the action.

Case 2:19-cV-00171-SRC-CLW Document 1 Filed 01/07/19 Page 2 of 3 Page|D: 2

Citizenship And Removabilitv
3. Plaintiff alleges, inter alia, that defendants caused him to suffer “severe, serious

73 ii

and permanent injuries, great pain and anguish,” but the complaint does not state the amount
of damages claimed.

4. On or about December 13, 2018, plaintiffs counsel stated to defense counsel that
plaintiff had undergone spinal fusion surgery as a result of the incident with is the subject of the
action.

5. The allegations in the complaint and the advice as to the spinal fusion surgery
show that amount in controversy in this action exceeds $75,000, exclusive of interest and costs.
See, e.g., Avant v J.C. Penney, 2007 US Dist. LEXIS 44320 (D.N.J. June 19, 2007); Garofalo v.
Medtronic, Inc., 1997 U.S. Dist. LEXIS 24688 (D.N.J. June 17, 1997).

6. The citizenship of the parties was at the time the complaint was filed and is now
completely diverse under 28 U.S.C. section 1332(a) in that plaintiff is a citizen of Nash County,
North Carolina, residing at 1656 Bass Road, Nashville, NC 27856; defendant John K. Wolf is a
citizen of Lucas County, Ohio, residing at 5906 Searnan Road, Oregon, OH 43616; and
defendant Barr Nunn Transportation is an lowa corporation with its principal place of business at
1803 Burr Oak Blvd, Granger, IA 50109.

7. This action is removable to this court under 28 U.S.C. section 1441 et seq. in that
(a) the amount in controversy exceeds the sum of seventy-five thousand dollars exclusive of
interest and costs; (b) the citizenship of the parties is completely diverse; (c) no defendant is a
citizen of New Jersey; and (d) this notice is filed within 30 days of defendants’ receipt of the
complaint and notice of the amount in controversy, and within one year of the commencement of

the action.

Case 2:19-cV-00171-SRC-CLW Document 1 Filed 01/07/19 Page 3 of 3 Page|D: 3

8. The action is removed to this court.
Dated: New York, New York LESTER SCHWAB KATZ & DWYER, LLP
January 7, 2018. Attorneys for Defendants

John K. Wolf and Barr Nunn Transportation

By: s/Jeffrey A. Payne
Jeffery A. Payne

